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                   IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF DELAWARE


In re:

MAXUS ENERGY CORPORATION, et al.,                Chapter 11

                                                    Case No. 16-11501 (CSS)
                   Debtors.                         (Jointly Administered)

MAXUS LIQUIDATING TRUST,

                   Plaintiff,

              v.

YPF S.A., YPF INTERNATIONAL S.A.,
YPF HOLDINGS, INC., CLH HOLDINGS,                   Adversary Proceeding No. 18-50489
INC., REPSOL, S.A., REPSOL                          (CSS)
EXPLORACION, S.A., REPSOL USA
HOLDINGS CORP., REPSOL E&P USA,
INC., REPSOL OFFSHORE E&P USA,
INC., REPSOL E&P T&T LIMITED, and
REPSOL SERVICES CO.,

                   Defendants.


 PLAINTIFF’S OPPOSITION TO YPF DEFENDANTS’ MOTION TO DISQUALIFY
                         WHITE & CASE LLP


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       Joseph J. Farnan, Jr., the Liquidating Trustee for the Maxus Liquidating Trust (“Trust”),

by and through his undersigned counsel, respectfully submits this brief in opposition to the YPF

Defendants’ Motion to Disqualify White & Case LLP as Counsel for the Maxus Liquidating Trust,

dated December 19, 2020 [D.I. 306] (“Motion” or “Mot.”). As set forth in greater detail herein,

the Court should deny the Motion.

                                PRELIMINARY STATEMENT

       This Motion presents, in actuality, only one issue for the Court to decide: are the screening

procedures established by White & Case when Ms. Jessica Boelter (now Lauria) joined the firm

“reasonably adequate under the circumstances” to protect any of YPF’s confidences that Ms.

Boelter may have obtained while at Sidley Austin. As set forth below and as will be established

at an evidentiary hearing if the Court finds that one is necessary, the White & Case screen is a

state-of-the-art set of physical, electronic and behavioral controls that are far beyond “reasonably

adequate” here and ensure, to the fullest extent practicable, that whatever Ms. Boelter may have

learned from YPF while she was at Sidley will never be revealed to the Trust. In the 157 pages

that YPF has submitted in support of its Motion, and indeed in the months of correspondence

leading up to its tactical filing, YPF has not identified a single flaw in the White & Case screening

procedures, has not suggested any modifications to address any legitimate concerns about

disclosure, and has even failed to submit what it contends would be a “reasonably adequate” (as

opposed to “impenetrable”) screen.

       Instead, YPF seeks to dodge the central question by positing that “no ethical screen, no

matter how extensive, could adequately assure YPF that its confidential information has not and

will not be leaked to its adversary.” Mot. at 1. In advancing that self-centered position, YPF

essentially advocates that this Court should set out to modify American Bar Association (“ABA”)




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Model Rule 1.10 (made applicable by Local Bankruptcy Rule 9010-1(f)) by adopting for its benefit

a “key party” or “lead lawyer” exception in this one case. That suggested type of modification,

however, was specifically debated in the ABA’s deliberation over Model Rule 1.10 more than a

decade ago, and was rejected by the ABA in favor of a rule that intentionally does not distinguish

between the importance or seniority of the attorney being screened. After all, why should one

presume that the bar’s senior most lawyers are more likely to violate their ethical obligations than

their more junior colleagues? To the extent there were any doubt as to the ABA’s position, the

Trust submits herewith the declaration of Lucian Pera, who personally participated in the ABA’s

deliberations over Model Rule 1.10 and who can testify from experience as to the various policy

considerations that came into play in its promulgation. Suffice it to say, the Model Rule does not,

as YPF suggests, prohibit a senior lawyer from joining a firm against whom her client is litigating,

but rather attempts to balance a host of competing concerns that YPF simply ignores in its Motion,

such as the interest of the new firm’s client (here, the Trust) in maintaining its counsel of choice

and in the ability of an attorney (here, Ms. Boelter) to join a new firm and leave behind her existing

partnership without penalty. In short, when this Court focuses on the actual Model Rule it has

chosen to adopt and the actual screen put in place by White & Case to comply with it, this dispute

can readily be resolved on the papers and in favor of the Trust.

          The rest of the Motion (perhaps because there is so little for YPF to say on the Rule and

the screen) is, unfortunately, loaded with factually questionable distractions that are largely

irrelevant, at times tawdry, and, worse still, seemingly designed to attack the ethics and reputation

of attorneys who have been appearing before this Court for decades. To be clear,

                     The Motion is not about protecting YPF’s secrets as to its long history with its U.S.
                      subsidiaries. Since the mid-90’s, YPF has employed no fewer than six sets of legal
                      counsel representing it on matters concerning the Passaic River environmental
                      cleanup. This revolving door of counsel has set loose scores of lawyers who have

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                     been privy to YPF confidences, including many other “key strategists” who now
                     work for a diverse set of firms not employed by YPF. None of these former YPF
                     attorneys is conceptually any different from Ms. Boelter (all have an ethical
                     obligation to remain silent), except that Ms. Boelter alone is now subject to an
                     affirmative, enforceable screen with severe sanctions for even inadvertent
                     transgressions. If YPF can live with the risk that any of its scores of former lawyers
                     might inadvertently disclose its secrets at a work or social gathering, they should
                     be able to tolerate the significantly diminished risk that Ms. Boelter will.
                    The Motion is also not about protecting YPF’s “secret strategy” in this adversary
                     proceeding—indeed, there is nothing particularly “secret” about it. As this Court
                     has witnessed firsthand, YPF has held and pursued a simple goal here: avail itself
                     of every opportunity to delay a trial and require the Trust to spend oftentimes
                     hundreds of thousands of dollars on matters that should be resolved consensually
                     or at least with minimal judicial involvement. The present gambit seems to be just
                     one more play from that playbook.
                    The Motion is also not about YPF maintaining access to one of its key lawyers in
                     the pending litigation. Clients cannot block attorney career moves. Moreoever,
                     though nowhere disclosed in the Motion’s lengthy recitation of Ms. Boelter’s
                     history of participation in the matter, the fact is that Ms. Boelter last billed on the
                     matter in 2019. Boelter Decl. ¶ 5. This is simply not a situation in which a key
                     lawyer “switched sides” leaving a hole in the adverse party’s litigation team.
                     Indeed, no “side switching” occurred at all – Ms. Boelter has had nothing to do with
                     and will not be involved in any manner in the ongoing litigation.
                    The Motion is not about the relationship between, and now marriage of, Ms. Boelter
                     to Mr. Thomas Lauria. Sidley has known about that relationship since 2018, and
                     Ms. Boelter understood that YPF became aware of the relationship in 2019. Boelter
                     Decl. ¶ 6. Whatever business rift Sidley’s failure to inform YPF (assuming that, in
                     fact, YPF did not know) might have caused is for Sidley and YPF to work out.
                     Because the Motion is brought solely under Model Rules 1.9 and 1.10, if any
                     breaches of ethics did occur prior to Ms. Boelter’s joining White & Case (and, to
                     be clear, the Trust is aware of and the Motion identifies none), that conduct is
                     irrelevant to the present issues of imputation and screening.
                    The Motion is not even about the adequacy of screening or White & Case’s conduct
                     in bringing Ms. Boelter on board. While the Motion goes to great lengths to try to
                     impugn White & Case and its screening procedures with innuendo, the facts here
                     are incontrovertible. White & Case relied on the Model Rules made applicable to
                     this proceeding. It established a screen effective immediately upon Ms. Boelter’s
                     joining the firm. It notified YPF immediately of Ms. Boelter’s joining, as required
                     by the Model Rules. It repeatedly offered to discuss the extent of the screen, and
                     solicited direct input from YPF as to any modification to the White & Case screen.
                     The fact is that YPF rebuffed any discussions that would address ethical issues and
                     instead insisted on preserving purported litigation rights. More to the point, YPF
                     never requested any modification of the White & Case screen. Instead, counsel
                     simply repeated their mantra that no screen would be adequate, begging the

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                      question of why they did not move months ago. The proper conclusion from these
                      facts is that YPF has is not focused on ethics and protecting confidences but has
                      rather seized on a perceived opportunity to interfere with the Trust’s counsel and to
                      cause more delay and more expense in this litigation.

          In the end, the Motion is about tactics not ethics. From the day that Ms. Boelter and Mr.

Lauria began their relationship, this action has proceeded through motions to dismiss, motions to

abstain and withdraw the reference, discovery and scheduling conferences, multiple discovery

motions and extensive document productions. Sidley and YPF did nothing. Even just focusing

on the period after Ms. Boelter gave notice in August 2020, the Trust has, in addition to continuing

its internal trial preparation, taken depositions, argued discovery motions, argued an appeal and

exchanged dozens of extensive communications with YPF’s counsel of record on various

procedural and substantive matters. Still, YPF did not seek to oust White & Case. And, while

YPF purportedly deliberated over that choice, it never asked White & Case to withdraw, never

asked to halt the proceedings, and never genuinely engaged in an effort to implement additional

screening measures on a consensual basis. Instead, it waited until the first day of the Christmas

break to have its new counsel to file the most inflammatory of motions with a specific request that

all proceedings in this action be stayed pending a determination of the Motion. By adopting that

course, YPF and its counsel forced the Trust to choose between granting its professionals a much-

needed break from an obviously difficult year and acceding to an indeterminate delay in a

proceeding that, due directly to YPF’s prior conduct, has already dragged on too long, at too great

expense. If this dispute were about ethics, not tactics, one would have expected YPF and counsel

to take a far more timely, measured, streamlined and tempered approach.

          In short, the Court should deny the Motion and order such other relief it deems just.




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                               COUNTER STATEMENT OF FACTS

          As set forth herein, the Trust believes that the Court may be able resolve the Motion without

the need for a lengthy contested evidentiary hearing. To that end, the Trust has specifically

requested that YPF consent, at least in the first instance, to proceed without extensive discovery

(which could, ironically, create a risk of White & Case breaching its own screening policies). See

Nicholson Decl. Ex. A at 12-13 (Dec. 24, 2020 email from C. Shore to V. Hou, “I believe we

should be able to agree on a range of stipulated facts to present to the Court without having to

engage in broad discovery . . . .”); id. at 3 (Jan. 8, 2021 email from C. Shore to V. Hou, requesting

YPF agree to have the Motion heard on the papers). YPF has refused to consider the issue unless

and until it has reviewed these opposition papers. See id. at 3 (Jan. 8, 2021 email from V. Hou to

C. Shore). As such, the Trust respectfully submits the following counterstatement of facts to

preserve its rights to create a detailed, contested evidentiary record without prejudice to its seeking

to limit, at least in the first instance, the scope of this matter.

          PRIOR PROCEEDINGS
          The Motion plunges in medias res with events that unfolded after the Trust filed the

Complaint that initiated this matter in June 2018. However, a brief discussion of the more distant

past provides important context for the Court to assess YPF’s present protest to Ms. Boelter’s

lateral move and the protections implemented by White & Case to accommodate it.

          As the Court is well aware, this proceeding is not written on a blank slate, but is rather the

final chapter in a series of proceedings that have transpired over the course of more than two-

decades relating to environmental contaminations at multiple sites across the United States and

YPF’s attempts to avoid liability related thereto. See, e.g., YPF Defendants’ Memorandum of Law

In Support of Motion to Dismiss Adversary Complaint, dated October 10, 2018 [D.I. 51], at 1-7.

Most pertinent, in 2005, the State of New Jersey Environmental Protection Agency (“NJDEP”)

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initiated an action in the Superior Court of New Jersey, Law Division—captioned New Jersey

Department of Environmental Protection, et al. v. Occidental Chemical Corporation, et al., No.

ESX-L-9868-05 (the “New Jersey Litigation”), in which (i) YPF S.A. and several of its affiliates—

including YPF’s holding-company subsidiary YPF Holdings, Inc., (ii) Repsol S.A. and its affiliates

(also defendants in this action), Repsol YPF S.A. (the entity formed during the period of 1999-

2012 when Repsol owned YPF S.A.), and (iii) Maxus Energy Corporation and its Debtor affiliates

(collectively, “Maxus”), which were at all relevant times wholly-owned indirect subsidiaries of

YPF—were all named defendants. See, e.g., Declaration of Javier J. Gonzalez in Support of First

Day Motions, dated June 18, 2016 [Case No. 16-11501, D.I. 2] at ¶¶ 32-42. There, the NJDEP

sought to impose liability derivatively on the YPF, Repsol and Maxus entities for environmental

liabilities related to contamination in the Passaic River in New Jersey. The New Jersey Litigation

also came to comprise cross-claims brought against Maxus for indemnification, and against the

YPF and Repsol entities derivatively as alleged alter-egos of Maxus. Id.

             During the New Jersey Litigation, several national law firms represented YPF and/or

Repsol YPF, including DLA Piper LLP, Kirkland & Ellis LLP, King & Spalding LLP, and

Chadbourne & Parke LLP. Further, pursuant to various alleged joint defense agreements, those

law firms coordinated on strategy extensively with the several major law firms that represented

Maxus, including Andrews & Kurth LLP,1 Drinker Biddle & Reath LLP, Haynes & Boone LLP,

Vinson & Elkins and Jones Day LLP. YPF gave all of those firms access, to more or less of a

degree, to its confidential information relating to the transactions at issue in the New Jersey




1
  Andrews & Kurth had previously represented YPF in connection with its acquisition of Maxus
in 1995.

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Litigation and its attempts to use litigation to limit its liability.2

             As this Court witnessed, on the eve of trial of alter-ego claims brought against YPF, Maxus

filed the petitions that initiated the above-captioned Chapter 11 Cases. In connection with these

Cases, and the separate adversary proceeding to which OCC’s cross-claims against YPF were

removed [No. 16-51025], YPF continued to rely on Chadbourne & Parke as its litigation counsel.

During the bankruptcy Cases, YPF publically disclosed its settlement position in a filed Settlement

Agreement. [No. 16-11501, D.I. 3 at Ex. A] Only on the eve of confirmation of Maxus’s plan of

reorganization did YPF end its relationship with Chadbourne and hire Cravath, Swaine & Moore

LLP, which appeared as its counsel of record at confirmation and indicated it would remain as

counsel in this litigation. See Amended Notice of Appearance and Request for Service of Papers

of the YPF Entities, dated April 11, 2017 [No. 16-11501, D.I. 1145]; see also April 18, 2017 Hr’g

Tr. [No. 16-11501] at 36:25-37:1 (Mr. Zumbro: “We are also fully prepared to litigate all of the

YPF [C]auses of [A]ction.”). After the Trust filed its Complaint on June 14, 2018, Cravath exited

and YPF brought in Sidley Austin LLP (“Sidley”) to defend this action.

             MS. BOELTER’S KNOWLEDGE OF YPF “CLIENT CONFIDENCES”
             While the Motion does not disclose how many firms pitched to replace Cravath, there is no

dispute that Sidley did. Ms. Boelter personally participated in a meeting with James Conlan in

which Sidley pitched for the engagement to defend YPF in this action. Boelter Decl. ¶ 4. The

Motion seeks to create the impression that Ms. Boelter served as YPF’s lead counsel on this matter

from Sidley’s engagement until her very departure; however, Mr. Conlan served as the lead



2
  Separately before the Court is the Trust’s motion to compel YPF to disclose a memorandum
prepared by YPF’s former counsel, Chadbourne & Parke, in 2012 relating to a potential bankruptcy
filing by Maxus, on the grounds that the substance of that memorandum was disclosed to Maxus
and its counsel as part of a broad effort to coordinate their defense. [D.I. 275] (“Chadbourne Memo
Motion”).

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attorney on the engagement until his departure from Sidley in June 2020. Boelter Decl. ¶ 3.

Following the pitch, there seems to be no dispute that Ms. Boelter attended client meetings in 2018

and 2019 and worked with Sidley litigation attorneys on the motions YPF filed during that time.

Boelter Decl. ¶ 4. But, to the best of her recollection, Ms. Boelter billed only approximately 200

hours to the matter in 2018, 100 hours in 2019, and none in 2020.3 Boelter Decl. ¶ 5.

             MS. BOELTER’S KNOWLEDGE OF YPF’S “LITIGATION STRATEGY”
             The Motion contends that Ms. Boelter was “[a]ctive in formulating YPF’s original

litigation strategy.” Mot. at 5. However, some of Ms. Boelter’s work on this matter as described

in the bullet points on page five of the Motion, such as YPF’s securities law disclosures and

engagement of Delaware counsel seems tangential to this proceeding. The remaining categories

of work largely pertain to aspects of this adversary proceeding that are now concluded. For

example, the Motion touts that Ms. Boelter worked on YPF’s Motion to Dismiss the Complaint.

Mot. at 5. That motion was filed on October 19, 2018 [D.I. 50]; proceeded to oral argument on

January 22, 2019 [D.I. 98], and was denied on February 15, 2019 [D.I. 108]. YPF sought leave to

take interlocutory appeal on March 1, 2019 [D.I. 121], which Judge Richard G. Andrews denied

on September 12, 2019 [D.I. 11 in Case No. 19-mc-51-RGA]. The Motion also contends that Ms.

Boelter reviewed the Answer to the Complaint, which was filed on April 1, 2019, but that pleading

contains general denials of fact and asserts various garden-variety affirmative defenses with no

specificity that would indicate that any confidences were acted upon [D.I. 140]. Mot. at 7. And,

while Ms. Boelter allegedly “participated in internal discussions about a potential motion to

withdraw the reference” (Mot. at 7), Judge Andrews denied that motion on March 23, 2020 [D.I.



3
  Although YPF makes several detailed accounts of how and why Ms. Boelter worked on the
matter, they have refused to disclose when she did so, even though YPF is in possession of her
time records and the Trust asked for that detail on December 22, 2020.

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215].

          As to each of these filings, YPF has already, in effect, publically revealed its strategy to

drag this litigation out as long as possible and cause the Trust, a limited-purpose, limited-funding

entity, to spend as much money as possible as quickly as possible. That strategy is confirmed in

other pleadings and proceedings as well. For example:

              YPF started this action by challenging the Trust’s ability to effect valid service of its
               Complaint on Cravath [D.I. 9 at ¶ 5], as part of a motion for an extension of time to
               move to dismiss the Trust’s Complaint up to six months after the filing of the Complaint
               [id. at ¶ 8].

              YPF filed a lengthy and unprecedented motion for leave to “correct the record,” seeking
               to strike portions of a hearing transcript on the grounds that counsel for the Trust had
               allegedly “mischaracterized” a single court opinion during oral argument on its motion
               to dismiss [D.I. 101].

              After the Court denied the Defendants’ motions to dismiss, YPF sought to negotiate for
               more than 50 depositions per side and a nine-month fact discovery period, and would
               only agree to a more expedited schedule on the condition that the Trust agree that any
               and all depositions from the New Jersey Litigation could be used for any and all
               purposes.

              When the Trust would not so stipulate, YPF filed what was in essence a pre-trial motion
               requesting that the Court impose their desired treatment of prior depositions or else
               expand the deposition period provided for in the then-current scheduling order by six
               months to allow the Defendants to retake dozens of unnecessary depositions [D.I. 156,
               157].

              YPF interposed a baseless claim of attorney-client privilege so as to withhold from the
               Trust—a successor to Maxus’ privileges—thousands of documents that had been
               openly shared with directors, officers and employees of Maxus. When the Trust moved
               to compel [D.I. 216], YPF sought to expand the scope of discovery to include claims
               of hundreds of environmental creditors that were settled in the Plan (to which YPF
               elected not to object during confirmation proceedings) [D.I. 217, 220].

              Then, after the Court granted the Trust’s motion to compel [D.I. 227], YPF produced
               documents pursuant to the Court’s order, only to seek to claw them back months later
               on the basis that they had “inadvertently” read the order “incorrectly” as requiring them
               to produce the documents that they had produced, prompting yet more motion practice
               [D.I. 275, 283].

The rational conclusion from these (and even other actions) is that YPF is willing to trade both


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money and credibility in exchange for delay. In any event, given YPF’s concession that “Ms.

Boelter’s day-to-day involvement in the litigation ebbed and flowed over time, particularly after

the onset of discovery as the case transitioned to more traditional civil litigation” (Mot. at 7),4 it is

not clear that Ms. Boelter presently has any pertinent, non-stale knowledge of YPF’s strategy for

litigating the remainder of this action. See infra at 30.

             MS. BOELTER BEGINS HER RELATIONSHIP WITH THOMAS LAURIA IN
             2018
             In or around 2018, Ms. Boelter and Mr. Lauria began a romantic relationship. Boelter

Decl. ¶ 6. When Sidley undertook its representation, Ms. Boelter (correctly) believed that Mr.

Lauria had never entered an appearance on behalf of the Trust in this matter. Id. Ms. Boelter

disclosed her relationship with Mr. Lauria to colleagues at Sidley in 2018. Id. Ms. Boelter believes

that YPF became aware of the relationship in 2019. Id.

             The two ultimately married on November 6, 2020. Id. By this time, Ms. Boelter was no

longer working on the matter. Boelter Decl. ¶ 5. There is no allegation in the Motion that, at any

time during the progression of their relationship, Ms. Boelter disclosed any of YPF’s confidences

to Mr. Lauria.

             MS. BOELTER MOVES TO WHITE & CASE
             As noted above, James Conlan, then the global head of Sidley’s restructuring group, left

Sidley (along with Patrick Corr, then-head of Sidley’s European restructuring and insolvency

practice) to join Faegre, Drinker, Biddle & Reath LLP in June 2020.5 Mot. at 7. Upon Mr.


4
  See also Wendel Decl. ¶ 7 (“She continued to be intimately involved with the representation of
YPF as recently as May 15, 2019.”) (emphasis added); id. at ¶ 10 (“As the litigation progressed,
Ms. Boelter handed over much of the responsibility for the day-to-day representation of YPF to
litigators in the firm.”).
5
  Faegre, Drinker, Biddle & Reath LLP resulted from the merger of Faegre, Baker, Daniels LLP
with Drinker, Biddle & Reath LLP. As noted above, the latter firm served as counsel to Maxus in
the New Jersey Litigation, including on Project Jazz.
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Conlan’s departure, John J. Kuster assumed the role of lead attorney for YPF on this matter.

Boelter Decl. ¶ 3. This matter, and Ms. Boelter’s work for YPF in connection therewith, played

no role in her decision to explore lateral moves or to leave Sidley. Boelter Decl. ¶ 7.

             In connection with her ultimate relocation to White & Case, Ms. Boelter went through a

standard conflicts screening process. Boelter Decl. ¶ 8. During that process, Ms. Boelter did not

discuss this matter other than to identify it as a matter on which she had worked, for purposes of

conflict identification. Id. Also, during that process, Ms. Boelter understood that she was not

being recruited because of her prior work for YPF, nor because of her relationship with Mr. Lauria.

Boelter Decl. ¶ 9.

             From the beginning of her recruitment, Ms. Boelter understood that, because of her prior

work for YPF on this matter, a screen would be necessary. Boelter Decl. ¶ 9. A screen was

implemented as of the day Ms. Boelter joined the firm (see Levy Declaration;6 see also Motion

Exhibits A through I), and Ms. Boelter was promptly informed of, and acknowledged that she

would comply with, the screen. Boelter Decl. ¶¶ 9-10; Levy Decl. ¶ 41. Ms. Boelter has never

seen any of the Trust’s documents pertaining to this matter, whether hard copy or electronic, in

White & Case’s possession. Boelter Decl. ¶ 11.

             Ms. Boelter takes her ethical obligations to her former client very seriously. Boelter Decl.

¶ 11. Ms. Boelter has not revealed, either directly or indirectly, any confidential information (or

substantive information of any sort) that she learned during her work for YPF, including during

the conflicts screening process, to anyone at White & Case. Id. Other than the limited necessary

disclosures during the conflicts screening process, Ms. Boelter has not discussed this matter with




6
 “Levy Declaration” or “Levy Decl.” refers to the Declaration of Debra Kobrin Levy, Associate
General Counsel and Senior Manager of Compliance at White & Case, filed herewith.
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anyone at White & Case, including Mr. Lauria, and has not set foot in White & Case’s New York

office since she joined the firm. Id. Ms. Boelter understands that White & Case policy dictates

that any disclosure of a YPF confidence, even inadvertent, will be punished as a disciplinary

violation. Id. Finally, Ms. Boelter has agreed to certify compliance with the White & Case screen

periodically, even though YPF has not requested such updates. Id.

             YPF BRINGS IN CLEARY TO SEEK DISQUALIFICATION OF WHITE & CASE
             On October 1, 2020, the day Ms. Boelter joined White & Case as a partner, White & Case

sent a letter to Sidley to provide notice to YPF of Ms. Boelter’s move and to inform YPF of the

screening measures White & Case had in place. Mot. Ex. B. The letter made clear that all relevant

personnel (i.e., Ms. Boelter and lawyers and staff on working on this matter) had been instructed

that: (1) Ms. Boelter would not have access to electronic or hard copy files relating to this matter;

(2) Ms. Boelter may not discuss this matter with anyone at White & Case; (3) Ms. Boelter would

not receive any part of the fee from this matter.7 Id. White & Case also made clear that it would

treat any breach of the screening procedures, inadvertent or otherwise, as a serious disciplinary

offense. Mot. Ex. C at 1.

             The Motion attaches the parties’ ensuing written correspondence in response to the above

letter as Exhibits A and C through I, which the Trust respectfully submits the Court can assess

without the need for additional color commentary. However, the Motion fails to apprise the Court

of three key facts concerning the period following Ms. Boelter’s departure from Sidley.

             First, from the first notice and throughout the lead up to the filing of the Motion, White &


7
  The Motion concedes that these are “features used by screens in typical lateral hire situations.”
Mot. at 13. A fulsome description of the screening measures put in place by White & Case is set
forth in the Levy Declaration. Further, in the accompanying Declaration of Lucian T. Pera (“Pera
Declaration” or “Pera Decl.”), Mr. Pera opines that such measures are, at the very least, reasonably
adequate under the circumstances. See Pera Decl. at ¶¶ 49-57. To the extent that an evidentiary
hearing is held, the Trust reserves the right to call other witnesses to establish its record.
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Case repeatedly solicited orally and in writing YPF’s views on how White & Case could augment

the screening measures to alleviate any legitimate client concerns. Mot. Exs. B, C, F and H. Based

upon YPF’s contention that it has agreed to screens in other representations (Mot. at 2), it was

obviously familiar with the concept and practice in U.S. jurisdictions. All the while, Cleary refused

to suggest any areas in which the screen could be improved, ultimately taking the position that no

screening measures could ever purge the imputed conflict. See Mot. Ex. G at 2 (“We do not

concede that a screen would ever be sufficient.”).

             Second, the Motion fails to note that, at no point after receiving the White & Case’s October

1, 2020 letter up to the filing of the Motion, did YPF request that White & Case withdraw from

the matter, curtail its involvement in the proceeding, or agree to halt any proceedings. On the

contrary:

                 YPF sat by as White & Case prosecuted the Chadbourne Memo Motion, as discussed
                  above.
                 YPF did not object when White & Case appeared as counsel for the Trust at the
                  deposition of Mr. David O. Smith on October 21, 2020, and the deposition of Fernando
                  Segovia, currently a director of subsidiary YPF E&P Bolivia S.A. (and Maxus’s former
                  CFO and acting CEO during the Chapter 11 Cases), on October 23, 2020.8
                 YPF did not object when, on October 27, 2020, the Trust moved to compel Mr. Segovia
                  to answer certain deposition questions pertaining to his deposition preparation with
                  Martin Jackson of Sidley where such preparatory discussions touched on issues
                  pertaining to Maxus (as opposed to YPF). [D.I. 288]
                 YPF did not object when White & Case appeared on behalf of the Trust at the
                  November 4, 2020 oral argument on the aforementioned discovery disputes. [D.I. 296]
                 In the meet-and-confers relating to the scheduling of briefing on the Motion, YPF’s
                  counsel took the position that the Christmas-week filing was purely coincidental, and
                  that the Trust could have as long as needed to file its opposition. Then, after the Court

8
  Upon information and belief, YPF expected Messrs. Smith and Segovia to give largely
exculpatory deposition testimony advancing its defenses. As it happened (and as the Trust will
demonstrate in greater detail at the appropriate juncture), White & Case secured testimony from
both witnesses undermining key portions of the YPF defense and supporting important allegations
raised in the Trust’s Complaint. This development may well have informed YPF’s decision to file
the Motion only after those depositions were taken.
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                  calendared a two-day evidentiary hearing in late April, YPF initially sought to
                  condition any delay in the Trust’s opposition on the Trust’s agreement to stay all further
                  proceedings in the adversary action until resolution of the Motion. See Nicholson Decl.
                  Ex. A at 5 (Jan. 8, 2021 email from V. Hou to M. Nicholson).
             Third, the Motion is silent as to why Cleary is appearing for YPF and not Sidley. Only

after the briefing schedule was agreed upon did the Trust learn through public statements that YPF

is itself launching a restructuring of billions of dollars of its loans in distressed exchanges. See,

e.g., YPF S.A. Letter to Buenos Aires Stock Exchange, dated January 8, 2021 (attached to Form-

6k for the month of January 2021).9 As part of that restructuring process, Cleary is representing

YPF in discussions with various groups of bondholders regarding the terms of bond exchanges.

Given that a judgment by this Court could establish the Trust as YPF’s largest single creditor,

delay of this proceeding and entry of a money judgment at its conclusion is exactly what Cleary

would want to facilitate a restructuring process. To that end, after the filing of the Motion, Cleary

noticed five depositions (including of White & Case’s general counsel and Chris Shore), and have

propounded broad interrogatories and document requests that by their terms seek disclosures going

back to June 1, 2016. While YPF may view discovery of that type as an opportunity to increase

costs and cause delay, the Trust believes that discovery of that scope is not necessary or appropriate

in the context of this Motion, particularly where collecting documents from Ms. Boelter could

result in inadvertent disclosure to White & Case of some of the very confidences the Motion

nominally seeks to protect. The Trust hopes to avoid the need for a fishing expedition by

stipulating to facts, and reserves the right to curtail anything other than confirmatory diligence

until the Court has an opportunity to determine the proper ambit of the dispute.




9
    Available    at    https://www.ypf.com/english/investors/Lists/HechosRelevantes/SEC-
Announcement-of-Exchange-Offers-and-Consent-Solicitation.pdf).
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                                           ARGUMENT

          Turning to the law, as the Motion concedes, disqualification of counsel is rare. Courts

“approach[] motions to disqualify counsel with cautious scrutiny, mindful of a litigant’s right to

the counsel of its choice.” Volterra Semiconductor LLC v. Monolithic Power Sys., No. 19-cv-2240

(CFC), 2020 U.S. Dist. LEXIS 154875, at *7 (D. Del) (quoting Intellectual Ventures I LLC v.

Checkpoint Software Techs., Inc., No. 10-1067-LPS, 2011 U.S. Dist. LEXIS 154921, at *17 (D.

Del. June 22, 2011)). “A party’s choice of counsel is entitled to substantial deference and the court

should not quickly deprive parties of their freedom to choose the advocate who will represent their

claims, particularly due to the risk that motions to disqualify may be motivated by an attempt to

achieve a tactical advantage in the litigation.” Alamo Grp., LLC v. A&G Realty Partners, LLC (In

re OSH 1 Liquidating Corp.), Nos. 13-11565 (CSS), 14-50103 (CSS), 2015 Bankr. LEXIS 467, at

*20 (Bankr. D. Del. Feb. 2, 2015) (Sontchi, J.). Whether disqualification is appropriate depends

on an analysis of the circumstances of the particular case at bar, and is “never automatic.”

Intellectual Ventures, 2011 U.S. Dist. LEXIS 154921, at *16 (collecting cases). As motions to

disqualify are generally disfavored, the moving party must “clearly demonstrate that continued

representation would be impermissible.” See Volterra, 2020 U.S. Dist. LEXIS 154875, at *6

(citing Talecris Biotherapeutics, Inc. v. Baxter Int’l Inc., 491 F. Supp. 2d 510, 513 (D. Del. 2007)).

Vague and unsupported allegations are not sufficient to meet this standard. Alamo Grp., 2015

Bankr. LEXIS 467, at *21.

          MS. BOELTER’S LATERAL MOVE IS PERMISSIBLE AND DOES NOT
          IMPERIL YPF CONFIDENCES OR THE CONDUCT OF THIS PROCEEDING
          At the outset, the Motion attempts to create some confusion as to what rules apply to the

instant dispute. See Mot. at 11; Mot. Ex. C at 1. YPF does appear to have abandoned the initial

contention that the New York Rules of Professional Conduct apply to Ms. Boelter’s conduct (see


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Mot. Ex. D at 1), and rightly acknowledge that, by virtue of this Court’s local rules, the ABA

Model Rules of Professional Conduct apply. See Mot. at 15 (“This Court applies the ABA Model

Rules of Professional Conduct to questions of attorney misconduct. Bankr. D. Del. L.R. 9010-

1(f).”). Yet, throughout the Motion, YPF’s counsel cites to decisions of other jurisdictions,

including New York, which take markedly different approaches to rules of screening and

imputation, perhaps creating the impression that some law other than the ABA’s Model Rules, as

written, controls.

          For the avoidance of any doubt that might be engendered by the Motion’s use of the phrase

“attorney misconduct” in relation to Ms. Boelter (a New York licensed attorney), the Trust clarifies

that New York’s own ethical rules establish that the Model Rules apply here. See New York R.

Prof. Cond. (“RPC”) 8.5(b)(1) (“For conduct in connection with a proceeding in a court before

which a lawyer has been admitted to practice (either generally or for purposes of that proceeding),

the rules to be applied shall be the rules of the jurisdiction in which the court sits, unless the rules

of the court provide otherwise”) (emphasis added); see also Pera Decl. at ¶ 22. In short, this dispute

is governed entirely by the Model Rules, as written.

          A.          White & Case Abided By The Model Rules On Lateral Hires, And Provided
                      All Appropriate Information On The Screen
          The Model Rules provide that a lawyer may not undertake a representation of a new client

in a matter “in which a firm with which the lawyer formerly was associated had previously

represented a client whose interests are materially adverse to [the new client]; and about whom the

lawyer had acquired information protected by [the Model Rules] that is material to the matter.”

MRPC Rule 1.9(b). Neither the Trust nor White & Case have ever contended that Ms. Boelter

may properly represent the Trust in its litigation against YPF. The Model Rules also provide that

“[w]hile lawyers are associated in a firm, none of them shall knowingly represent a client when


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any one of them practicing alone would be prohibited from doing so by [Rule 1.9 (“Duties to

Former Clients”)].” MPRC Rule 1.10 (“Imputation of Conflicts of Interest: General Rule”). Thus,

if the Model Rules stopped there, Ms. Boelter’s conflict would be imputed to White & Case, and

both she and the firm might well be out of this proceeding.

          However, Model Rule 1.10 explicitly provides that, if the conflict to be imputed “is based

upon [Rule 1.9(b)]10 and arises out of the disqualified lawyer’s association with a prior firm,” then

the conflict is not imputed for purposes of Rule 1.10(a) as long as the lawyer’s association with

the new firm meets three requirements in subsection 10(a)(2).             MRPC Rule 1.10(a)(2).

Specifically, “Rule 1.10(a)(2) . . . removes the imputation otherwise required by Rule 1.10(a), . . .

without requiring that there be informed consent by the former client. Instead, it requires that the

procedures in sections (a)(2)(i)-(iii) be followed.” Rule 1.10, cmt. 7 (emphasis added). As set

forth below, the White & Case screen fully satisfies each of these three requirements.

          First, the disqualified lawyer must be “timely screened from any participation in the [new

firm’s conduct of the adverse] matter” and must not receive any part of the fee therefrom. Rule

1.10(a)(2)(i). As White & Case informed YPF in its first notice, White & Case implemented its

screen effective as of Ms. Boelter’s first day with the firm. Mot. Ex. B. Further, as White & Case

informed YPF at the time, the screen “[e]nsur[es] that [Ms.] Boelter will not be apportioned any

part of the fee from [this matter] pursuant to ABA Model Rule 1.10(a)(2).” Id. at 2.

          Second, the new firm must promptly give written notice of the lawyer’s association with

the new firm “to any affected former client” (i.e., of the prior firm). Rule 1.10(a)(2)(ii). Such

notice must be sufficient “to enable the former client to ascertain compliance with the provisions


10
  Rule 1.10(a)(2) refers to disqualification under “Rule 1.9(a) or (b),” but “[w]hen a lawyer moves
from one firm to another, the situation is governed by Rules 1.9(b) and 1.10(a)(2) and 1.10(b).”
Rule 1.10, cmt. 2.

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of this Rule,” and must include: (A) “a description of the screening procedures employed;” (B) “a

statement of the firm’s and of the screened lawyer’s compliance with these Rules;” (C) “a

statement that review may be available before a tribunal;” and (D) “an agreement by the firm to

respond promptly to any written inquiries or objections by the former client about the screening

procedures.”11 Id. There can be no reasonable disagreement that White & Case complied with

this section as well. It sent a letter informing YPF of Ms. Boelter’s move to White & Case and the

related screening measures that White & Case implemented. Mot. Ex. B at 1. There can also be

no real dispute that White & Case did “respond” to each of YPF’s inquiries regarding the screen,

though YPF does contend that White & Case’s November 25, 2020 response to the November 6,

2020 letter was not “prompt.” Mot. at 12. However, four business days after it received Cleary’s

letter, White & Case offered to engage openly with Cleary regarding the efficacy of its screening

provisions under the auspices of Federal Rule of Evidence, Rule 408. Mot. Ex. F. Cleary declined,

claiming that the proposal to discuss pursuant to Rule 408 was somehow “improper.” Mot. at 12;

Mot. Ex. G at 2. Nothing, however, prevented Cleary from having an initial discussion under Rule

408 and, if not satisfied with any answer, convening an on-the-record meet and confer between the

litigators. There is nothing in Model Rule 1.10 or any case law which the Trust has encountered

which requires a new firm to abandon attempts to resolve screening issues consensually and

instead proceed to litigation mode immediately.

          Third, under Model Rule 1.10(a)(2), at reasonable intervals and upon the former client’s



11
   “The notice required by paragraph (a)(2)(ii) generally should include a description of the
screened lawyer’s prior representation and be given as soon as practicable after the need for
screening becomes apparent. It also should include a statement by the screened lawyer and the
firm that the client’s material confidential information has not been disclosed or used in violation
of the Rules. The notice is intended to enable the former client to evaluate and comment upon the
effectiveness of the screening procedures.” Rule 1.10, cmt. 9.

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written request, the screened lawyer must provide “certifications of compliance with these Rules

and with the screening procedures.”12 Rule 1.10(a)(2)(iii). Although YPF has not made any

written request that White & Case certify compliance with the Rules and with the screening

procedures, Ms. Boelter has indicated that she is willing to provide periodic compliance updates,

and White & Case is willing to do so as well, should the Court so require.

          B.          The White & Case Screen Is Reasonably Adequate Under The Circumstances
          While Rule 1.10 imposes a screening requirement, it does not prescribe any explicit steps

that must be adopted in any situation to negate imputation of a former-client conflict to a new firm

association. Instead, the official comment to Rule 1.10 cross references Rule 1.0(k), which makes

clear that “‘[s]creened’ denotes the isolation of a lawyer from any participation in a matter through

the timely imposition of procedures within a firm that are reasonably adequate under the

circumstances to protect information that the isolated lawyer is obligated to protect under these

Rules or other law.” See Model Rule 1.0(k) (emphasis added). In the more than ten weeks between

receipt of White & Case’s letter giving notice of Ms. Boelter’s joining and the filing of the Motion,

YPF failed (or refused) to identify any area in which the White & Case screen could be made more

reasonable, or even describe what is “reasonably adequate under the circumstances.” Importantly,

each of the alleged “proximity deficiencies” in the screen listed in the Motion on page 13 was

known to YPF no later than September 2020.

          Rather, the Motion chiefly contends that the White & Case screen, while it may be facially

sufficient for other types of lateral moves, is legally impermissible here. In advancing this




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   “The certifications required by paragraph (a)(2)(iii) give the former client assurance that the
client’s material confidential information has not been disclosed or used inappropriately, either
prior to timely implementation of a screen or thereafter. If compliance cannot be certified, the
certificate must describe the failure to comply.” Rule 1.10, cmt. 10.

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contention, the Motion cites to no cases applying Local Bankruptcy Rule 9010-1(f), but starts with

a multi-factor test from a 2013 opinion from the District Court for the District of Delaware. See

Enzo Life Scis., Inc. v. Adipogen Corp., No. 11-cv-00088-RGA, 2013 U.S. Dist. LEXIS 164939,

at *9-10 (D. Del. Nov. 20, 2013). According to the Motion, Enzo requires that an effective screen

must satisfy four requirements: (1) prohibit discussion of sensitive matters; (2) restrict circulation

of sensitive documents; (3) restrict access to files; and (4) create a “strong firm policy against

breach, including sanctions, physical and/or geographic separation.”13 Id. (emphasis added). The

Motion then concedes that Ms. Boelter cannot work on or access files related to this matter, cannot

discuss this matter with anyone at White & Case, and cannot receive a portion of the fee. Mot. at

12-13. The Motion also does not second-guess that anyone who breaches the screen will be subject

to disciplinary sanction, including termination. Id.; see also Levy Decl. ¶ 41; Boelter Decl. ¶ 11;

Mot. Ex. I at Exhibit A thereto (“The Firm will treat any breach, inadvertent or otherwise, of an

ethical screen as a serious disciplinary offense.”).

          Rather than stop there, the Motion next seeks to impose a different five-factor analysis to

contend that the White & Case screen, while facially meeting the four Enzo requirements, will be

insufficient to protect YPF-confidential information. These factors are: (1) the substantiality of

the relationship between the attorney and the former client; (2) the time lapse between the matters

in dispute; (3) the size of the firm and the number of disqualified attorneys; (4) the nature of the

disqualified attorney’s involvement; (5) and the timing of the wall. Id. In particular, YPF urges



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  The Motion seeks to add, as a fifth requirement, that an attorney cannot be screened effectively
unless “any confidential client information communicated to the personally prohibited lawyer is
unlikely to be significant in the subsequent matter.” Mot. at 16 (quoting Restatement (Third) of
the Law Governing Lawyers § 124(2)(a)). However, the Restatement provision, which is not the
law in Delaware, would materially modify the Model Rules which this Court expressly adopted.
Bankr. D. Del. L.R. 9010-1(f); see also Pera Decl. ¶¶ 61-64.

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that this Court find that White & Case’s screen is inadequate because (1) “Ms. Boelter had a

substantial relationship with YPF as one of its key legal advisers,” (Mot. at 17-20); (2) “Ms.

Boelter switched sides in the midst of an ongoing case,” (Mot. at 19-20); (3) “Ms. Boelter’s work

in [White & Case’s] New York Restructuring and Financial Insolvency group creates a substantial

risk YPF’s confidences will spread through that small group,” (Mot. at 20-22) and (4) “Ms. Boelter

was intimately involved with the most important parts of this case.” (Mot. at 22-23).

          At the outset, the Trust respectfully submits that this five-factor framework is outdated and

does not bind this Court regarding the application of this Court’s Local Rule. The Enzo decision

itself was rendered after the ABA made material changes to the screening and imputation rules, as

discussed by Mr. Pera in his Declaration (Pera Decl. ¶¶ 26-36). Yet, its analysis derives solely

from dicta in the dissent of an opinion addressing the Pennsylvania Rules of Professional

Conduct—see Maritrans GP, Inc. v. Pepper, Hamilton & Scheetz, 529 Pa. 241 (Pa. 1992) (Nix, J.,

dissenting)—which was followed by a line of cases that mostly pre-date the 2009 changes to the

Model Rules on screening. See, e.g., Dworkin v. General Motors Corp., 906 F. Supp. 273 (E.D.

Pa. 1995) (also addressing Pennsylvania Rules); James v. Teleflex, Inc., No. 97-1206, 1999 U.S.

Dist. LEXIS 1961, at *16 (E.D. Pa. Feb. 24, 1999) (same); Norfolk S. Ry. Co. v. Reading Blue Mt.

& N. R.R. Co., 397 F. Supp. 2d 551, 554 (M.D. Pa. 2005) (same); Holcombe v. Quest Diagnostics,

Inc., 675 F. Supp. 2d 515 (E.D. Pa. 2009) (post-dating the Model Rule changes, but addressing

Pennsylvania rules only).

          The question here is not what Pennsylvania might have permitted prior to or after the

promulgation of Model Rule 1.10, but rather what this Court will now permit pursuant to the Local

Rules it has adopted. In considering that question, the Court should assess the effectiveness of the

White & Case screen in light of all relevant factual considerations, but respectfully that inquiry


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should not rewrite the Rule to reopen the debate as to whether a screen is permissible for “key

participants.” See Model Rule 1.10, cmt. 7 (“[E]ven where screening mechanisms have been

adopted, tribunals may consider additional factors in ruling upon motions to disqualify a lawyer

from pending litigation.”) (emphasis added). And, even if this Court were to defer to how the Enzo

court interpreted its local rule, it bears noting that Enzo itself arose in a unique fact pattern in which

(1) the conflicted lawyer moved to a small firm (CCB) of which he was a founding name partner,

(2) the firm thereafter attempted to substitute as counsel for plaintiff in a matter in which the lawyer

had previously worked for defendant, and (3) there was a significant gap in time when the

conflicted lawyer was not screened from his colleagues at CCB. Enzo Life Scis., 2013 U.S. Dist.

LEXIS 164939, at *3 (observing that the conflicted attorney had been a name partner at the firm

appearing as substitute counsel to the adverse client prior to implementation of a screen). Indeed,

the movant noted in a letter to Judge Andrews just how extreme the problem was there:

          the factual scenario here is unique and has not previously been addressed by this
          [c]ourt. . . . [T]his is not the typical situation where an associate or partner leaves
          a firm and moves to a firm that is representing a client adverse to a prior
          representation of a newcomer. . . . While Mr. Brown has been characterized as a
          side-switching attorney, CCB can just as easily be categorized as a side-switching
          firm. . . . The imputed conflict caused CCB, as a firm, to switch sides during the
          same litigation once it was retained by Enzo. Because the circumstances are akin
          to a side-switching firm and cannot be adequately screened, CCB must be
          disqualified.
Enzo Life Scis. Inc. v. Adipogen Corp., No. 11:-cv-00088 (RGA) [Dkt. No. 136] (D. Del. Sept. 20,

2013) (emphasis added). That is certainly not what is happening here.

          Further, even if this Court were inclined to adopt five-factor overlay and add material

glosses to Rule 1.10 not found in its express text, YPF still fails to meet its burden of proof to show

facts supporting its supposition about potential infirmities with the screen. See, e.g., Boston Sci.

Corp. v. Johnson & Johnson, Inc., 647 F. Supp. 2d 369, 374 n.7 (D. Del. 2009) (“Whether

disqualification is appropriate depends on the facts of the case and is never automatic.”); Alamo

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Group, 2015 Bankr. LEXIS 467, at *21 (vague and unsupported allegations not sufficient grounds

to disqualify).

                         Ms. Boelter’s “substantial relationship” with YPF does not render the
                         White & Case screen less effective
          The Motion and the supporting declaration of Professor Wendel first take the position that,

even if Rule 1.10 contemplates that proper ethical screening can cleanse the imputation of a

former-firm conflict, a screen cannot cleanse an imputed conflict if the knowledge of the new

lawyer rises above a certain threshold of “substantiality.” See Mot. at 17-19, 22-23, 26-28; Wendel

Decl. ¶ 17. Notably, neither the Motion nor the Wendel Declaration cite authority from this Court

finding an otherwise reasonably adequate ethics screen ineffective and therefore insufficient as a

matter of law because the lawyer to be screened “knew too much.” Rule 1.10 contains no such

proviso, though it could have. See Rule 1.18; see also Pera Decl. ¶¶ 43-44. When the ABA Ethics

Committee adopted the current version of Rule 1.10 in 2009, the Committee expressly considered

and rejected a proposal by the ABA Section of Litigation that would have prohibited lateral

screening where the moving lawyer possessed confidential client information material to, or

substantial involvement in, the screened matter. Pera Decl. ¶¶ 28-36. Indeed, certain States have

subsequently refused to adopt Model Rule 1.10 wholesale and have created specific qualifications

on who may be screened and who may not. See, e.g., Pera Decl. at fns. 7 and 13 (discussing

Tennessee Rules of Professional Conduct); see also New Jersey Rules of Professional Conduct,

Rule 1.10(c) (screening unavailable where potentially disqualified lawyer had “primary

responsibility” in prior proceeding); Indiana Rules of Professional Conduct, Rule 1.10 (same);

Nevada Rules of Professional Conduct, Rule 1.10 (same). By adopting the Model Rules without

qualification, this Court has not put any similar limitations on who can, and who cannot, avail

themselves of the screening rules.


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          Ultimately, the Motion’s focus on substantiality seems aimed to the proposition that

disqualification is appropriate here because Ms. Boelter’s high-profile former representation of

YPF gives rise to the “mere appearance of impropriety.” Mot. at 19. To that end, the Motion cites

two cases for the proposition that “a court may disqualify an attorney for failing to avoid even the

appearance of impropriety.” Mot. at 19 (citing Intell. Ventures I LLC v. Checkpoint Software

Techs. Ltd., No. 10-cv-1067, 2011 U.S. Dist. LEXIS 154921, at *12 (D. Del. June 30, 2011) (“[A]

court may disqualify an attorney for failing to avoid even the appearance of impropriety.”); Enzo

Life Scis., 2013 U.S. Dist. LEXIS 164939, at *11-12)). Both cases are out of step on this point;

the Model Rules do not include any reference to the appearances standard which existed in prior

ethical Canons. Specifically, following the promulgation of amended Rule 1.9 of the Model Rules

in 1983,14 the ABA intentionally removed all references to appearances of impropriety because

the standard was vague, subjective, and unpredictable of application. See Pera Decl. ¶¶ 81-82.

Looking at Section 327(a) of the Bankruptcy Code, the Third Circuit has held that, because that

statute makes no reference to the appearance of impropriety, that alone is not sufficient grounds to

disqualify a lawyer or firm. See In re Marvel Ent. Grp., 140 F.3d 463, 477 (3d Cir. 1998).

          Even were “appearances” still a relevant consideration, the Trust respectfully submits that

there is nothing “apparently” inappropriate in Ms. Boelter’s or White & Case having facially and

faithfully complied with the active ethical rule applicable to the proceeding. Rather, the Trust

respectfully submits that “emphasis on the ethical rules themselves, rather than a presumption that

they will be circumvented, should more effectively promote public respect for the bar.” Nemours

Found. v. Gilbane, Aetna, Fed. Ins. Co., 632 F. Supp. 418, 428 (D. Del. 1986); see also Pera Decl.



14
  See Flamm, Richard E., LAWYER DISQUALIFICATION: DISQUALIFICATION OF ATTORNEYS AND
LAW FIRMS, § 14.2 (2d ed. 2014 and 2020 Supp.).

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¶ 83 (quoting Geoffrey C. Hazard, Jr., W. William Hodes, and Peter R. Jarvis, The Law of

Lawyering §15.11, at 15-37 (4th ed. 2020).).

                        The Timing of Ms. Boelter’s departure does not render the screen less
                        effective
          The Motion next asserts that “the timing” of Ms. Boelter’s lateral move weighs in favor of

finding the screen ineffective, because Ms. Boelter left Sidley “in the midst of ongoing litigation.”

Mot. at 19-20. That contention seems odd – disqualifications from a litigation always occur in the

midst of a litigation, as do screens implemented pursuant to Model Rule 1.10 when a laterally-

moving lawyer has a former-firm conflict. YPF’s focus on September 2020 obfuscates that Ms.

Boelter stopped any work for YPF in 2019, at least ten months prior. Further, in lieu of analyzing

how or why the timing of Ms. Boelter’s move actually impacts the matter, the Motion simply cites

to two cases, both of which are inapposite.

          First, the Motion cites Enzo, in which there was a 16-month gap between the attorney’s

work at the old firm and the new firm’s engagement on the screened matter. The Motion contends

that, there, “[t]he court did not find that this lapse of time undermined the case for disqualification.”

Mot. at 19. Actually, the court in Enzo did not discuss time lapse at all, focusing on the facts that

the destination firm had only eight attorneys and that the screen had no disciplinary provisions.

2013 U.S. Dist. LEXIS 164939, at *12-14. In any event, the lawyer in Enzo had been at the new

firm for more than a year before the plaintiff sought to retain the firm as substitute counsel, during

which time the lawyer, who previously worked for the defendant, had not been screened at all. Id.

Here, Ms. Boelter’s joining and the screen’s implementation were simultaneous. See Mot. Ex. B;

see also Levy Decl. ¶¶ 13-14. Second, the Motion relies on Norfolk, in which the lawyer at issue

went to a new firm after the court had granted his client partial summary judgment—which he

argued—and immediately before the trial he presumably would have conducted. 397 F. Supp. 2d


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at 554.15 Here, Ms. Boelter had no expected ongoing role in the matter – Sidley has conceded that

it had already transitioned the matter to its litigation attorneys and away from its restructuring

attorneys more than a year ago. Mot. at 7. There is no evidence from which the Court can conclude

that Ms. Boelter’s departure prejudiced YPF in any way.

                         White & Case’s Size Weighs Against Finding the Screen Ineffective
          The Motion next contends that, based on various factors, it is “extremely likely that YPF’s

confidential information and strategies will spread to the Trust’s lawyers,” (Mot. at 20), and

“almost inevitable that Ms. Boelter eventually inadvertently makes a comment, suggests a strategy,

or lets slip a detail that could tip off an attorney working on the YPF litigation.”16 Mot. at 21. In

other words, while cases such as Enzo and Norfolk might question the effectiveness of a screen in

a small firm, the Motion seems to contend that it is the enormity of White & Case that makes it

harder for White & Case to enforce the screen. Mot. at 13, 24. YPF’s novel concern is misplaced.

          First, the accusation that Ms. Boelter will simply violate her duties and the White & Case

ethical screen is baseless. Reputable attorneys do not “let slip” material information that they are

required to maintain as confidential. Second, the Motion cites the Decora case for the proposition

that the Court can and should focus solely on the size of White & Case’s financial restructuring

group because the risk of inadvertent transmission of client confidence is greater when the screened



15
   Further, the screen in Norfolk was impaired due to other factors, including that (i) the destination
firm had “only ten attorneys in a single office, [where] the close working environment presents the
distinct possibility that [the screened lawyer] could be nearby and overhear a sensitive discussion,”
(ii) there was no provision on fee apportionment, and (iii) the screen had no disciplinary provisions.
Id. at 555.
16
  The Motion asserts that “this risk is exacerbated because six other Sidley lawyers, including Ms.
Boelter’s former co-head of the Sidley bankruptcy practice, a senior litigation partner, a
bankruptcy counsel, and two associates also left to join [Ms. Boelter] at White & Case.” Mot. at
20. However, the Motion does not explain why this is so. In fact, none of the other Sidley joiners
are even alleged to have worked for YPF.

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lawyer works in the same group handling the conflict matter. Mot. at 20. But, in Decora, the

concern was that the screened lawyer regularly worked with the senior lawyer on the screened

matter and was not actually screened until after the filing of a motion for disqualification. 899 F.

Supp. at 140-41. In fact, Ms. Boelter’s joining the insolvency group is a red herring -- White &

Case’s Commercial Litigation practice handles this matter, not the restructuring group. Even so,

none of the 47 partners in the restructuring group has billed time on this litigation since before

2020, nor has any attorney in the firm’s Miami office billed to this litigation during that time.17

Levy Decl. ¶¶ 43-44. Only two associates in the restructuring group billed any time to the litigation

in the last year.18 Id.

          Third, even if one were to focus just on White & Case’s financial restructuring group, that

group has 85 attorneys in New York alone, and 47 partners worldwide. Mot. at 13 n.5. While the

Motion describes that group as “relatively small” (Mot. at 21), these numbers are still far larger

than the firms in which courts have found the size of the firm to weigh against effective screening.

See, e.g., Enzo (eight attorneys); Norfolk (ten attorneys); Decora, Inc. v. DW Wallcovering, Inc.,

899 F. Supp. 132, 140 (S.D.N.Y. 1995) (44 lawyers); see also Pera Decl. ¶ 54.

          Fourth, the Motion overstates the requirement for “physical separation” between Ms.


17
  No doubt, Mr. Shore is a partner in the Commercial Litigation group, but does work frequently
with the restructuring group. But YPF should not have it both ways. Either the Court should focus
on the 85 lawyers assigned to the same group (as YPF does – see Mot. at 13), or the hundreds of
White & Case attorneys assigned to tax, securities, real estate, debt finance, mergers &
acquisitions, and other corporate groups who routinely interact with their restructuring colleagues.
18
   In its December 4, 2020 letter, White & Case noted that 13 restructuring lawyers had billed time
to this matter “since the date Ms. Boelter joined the Firm.” Mot. Ex. A. That tally of lawyers in
the restructuring group as stated in the letter comprised all lawyers who ever billed any work for
the Trust since White & Case was engaged, as long as they received notice of the screen when Ms.
Boelter joined (which any current White & Case lawyer who worked for the Trust as of October
1, 2020 did). However, only two members of the group have billed time to the Trust on this matter
since Ms. Boelter joined (or, in fact, within the last year), both of whom work in the New York
office. Levy Decl. ¶ 44.
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Boelter and the New York lawyers working on this matter, both in terms of what the law requires

and what White & Case has undertaken to provide. Mot. at 24. The Rule requires that the screened

lawyer not discuss “the matter” from which they have been screened with lawyers working on that

matter – in other words, the Rule focuses on the work, not the workers. There is no dispute that

White & Case’s screen complies with this requirement. Levy Decl. ¶¶ 24-27. The Rule does not

require a strict physical separation of screened attorneys—i.e., a guarantee that Ms. Boelter will

never work or fraternize with Trust team lawyers on other matters, or, in YPF’s even more

draconian vision, speak with them at all about anything. Certainly, the Motion adduces no

authority for the proposition that Ms. Boelter and Maxus team lawyers cannot ever meet or

interact.19 See Pera Decl. ¶ 55. The Motion instead points to language from the Enzo opinion

addressing the requirement that the screen include a “strong firm policy against breach, including

sanctions, physical and/or geographic separation.” Enzo Life Scis., 2013 U.S. Dist. LEXIS 164939

at *9 (emphasis added). To the extent that non-exclusive language creates a bona fide requirement

for strict segregation—which, as discussed above, is not the case—the White & Case screening

requirement that Ms. Boelter not “work in an office location in close proximity to any of the

attorneys working on the Maxus matter” is an eminently reasonable measure that will prevent Ms.

Boelter and the Trust team lawyers from overhearing each other inadvertently. See Ex. I at Exhibit

B; see also Pera Decl. ¶ 56. While the Motion feigns bafflement that White & Case could ever

ensure that Ms. Boelter, when in New York, will not work in close proximity with any Trust team

lawyers, each floor in White & Case’s New York office contains at least 70 separate offices (with

15 or more partners’ offices), and it is perfectly feasible for Ms. Boelter to be seated (if and when


19
  Such a requirement would undermine the applicability of Rule 1.10 at small to mid-size firms.
Yet, the drafters of the Model Rules expressly envisioned that imputed conflicts can be cleansed
by screens even at small firms. See Pera Decl. ¶ 56.

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she is actually assigned an office in New York) to a floor where on which no Trust team lawyers

work.

          Finally, YPF contends that White & Case’s purported failure to strengthen the screen by

increasing the physical distance between the offices of Ms. Boelter and the lawyers on the Trust

team cannot be remediated now, and that White & Case must therefore be disqualified. Mot. at

25. As an initial matter, this argument smacks of gamesmanship. Having sat by and said nothing

while Ms. Boelter joined and integrated into the firm, YPF should not now be heard to argue that

“it’s too late” to adopt different screening mechanisms. Nor is it too late when nothing confidential

has been revealed, nor will be revealed. In any event, due to the pandemic, White & Case attorneys

have generally not been working in the New York office since March 2020 and, as a result, YPF

confidential information has never been at risk from loose “water-cooler talk.” Ms. Boelter herself

has not yet set foot in White & Case’s New York office. Boelter Decl. ¶ 11. Thus, to the extent

the Court has concerns about the proximity of Ms. Boelter’s eventually-assigned office to the New

York office of any other Trust team lawyer in New York, there is, unfortunately, ample time to

deal with that proactively.20

                        Ms. Boelter’s alleged “intimate involvement” with the “most important
                        parts of this case” does not render the screen ineffective
          YPF next contends that “the fact that White & Case hired Ms. Boelter while she was in

possession of the most sensitive and significant of YPF’s confidences . . . strongly favors finding

a screen per se ineffective.” Mot. at 22. In essence, YPF simply assumes, contrary to any fact,

that senior lawyers with important information should be deemed less capable of honoring their

ethical obligations. Preliminarily, and as discussed in Section I.B.1, supra, and in the Pera



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  White & Case lawyers are not expected to return to the New York office before April 2021 at
the earliest.
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Declaration, the drafters of the Model Rules emphatically rejected the concept of a “lead lawyer”

exception to Rule 1.10(a). In addition, and as discussed in the foregoing, Ms. Boelter was not in

fact the “lead lawyer” before or at the time she left Sidley (Boelter Decl. ¶ 3), and it is an open

question as to whether the information that Ms. Boelter may have learned years ago remains as

sensitive and significant today. See Voicenet Communs., Inc. v. Pappert, No. 04-1318, 2004 U.S.

Dist. LEXIS 6429, at *7-8 (E.D. Pa. Apr. 5, 2004) (denying disqualification motion in part because

lawyer’s knowledge was “outdated”); Rohm & Haas Co. v. Dow Chem. Co., No. 4309-CC 2009

Del. Ch. LEXIS 249, at *6-7 (Del. Ch. Feb. 12 2009) (“Dow has failed to convince me that the

information Wachtell had access to regarding Dow’s strategies and asset values in 2006 and 2007

will substantially advance the interest of Rohm and Haas in this litigation.”); T. Levy Assocs. v.

Kaplan, No. 16-4929, 2016 U.S. Dist. LEXIS 177187, at *6 (E.D. Pa. Dec. 22, 2016)

(disqualification inappropriate where “information acquired in a prior representation may have

been rendered obsolete by the passage of time”).

          Nevertheless, the Motion asks this Court to impose, on a post-hoc basis, a bright-line rule

that “[d]isqualification is particularly warranted where the conflicted attorney’s involvement with

the prior case included a candid evaluation of the strengths and weakness of the client’s case, as

well as knowledge of the client’s ‘defense strategies.’” Mot. at 23. The only case the Motion cites

for that proposition—Enzo—says nothing of the sort. There, the court referred to evidence that

the conflicted attorney became aware of defense strategies in connection with preparing mediation

statements and document requests to contradict a denial that the conflicted attorney had a

substantive role in the case. Enzo Life Scis., 2013 U.S. Dist. LEXIS 164939, at *10-11. Even so,

the Enzo court did not find “particularly” that the conflicted attorney could not be screened as a

matter of law; rather this was just one factor among several. Id. at *11. Again, the Enzo court also


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emphasized that the destination firm had only eight lawyers, that the screen failed to prohibit other

lawyers from discussing the screened matter in the conflicted attorney’s presence, and that it did

not have an enforcement mechanism. Id. at *12-13. None of those infirmities are present here.

          MS. BOELTER’S CONDUCT PRIOR TO JOINING WHITE & CASE,
          INCLUDING HER RELATIONSHIP, DOES NOT CREATE AN IMPUTABLE
          CONFLICT THAT WOULD WARRANT DISQUALIFICATION
          Moving even further away from the central issue of screening adequacy, the Motion makes

repeated reference to the relationship between Ms. Boelter and Mr. Lauria as if that had key

importance to the dispute. It does not. The only conflict the Motion alleges is a conflict under

Rule 1.9, to which Ms. Boelter is subject by virtue of her work for YPF while at Sidley. The

Motion does not seek to disqualify White & Case due to Ms. Boelter’s relationship with and

eventual marriage to Mr. Lauria under Model Rule 1.7. Nor could it.

          First, as to the period before Ms. Boelter joined White & Case, her relationship with Mr.

Lauria did not create an actionable conflict, even under Model Rule 1.7, which applies to personal-

interest conflicts including relationships between lawyers at firms with adverse clients. That Rule

only applies to lawyers representing adverse clients in the same matter. See Rule 1.7, cmt. 11

(“When lawyers representing different clients in the same matter or in substantially related matters

are closely related by blood or marriage, there may be a significant risk that client confidences will

be revealed and that the . . . relationship will interfere with both loyalty and independent profession

judgment.”) (emphasis added); see also ABA Comm. On Ethics & Pro. Resp., Formal Op. 494

(2020) (“Conflicts Arising Out of a Lawyer’s Personal Relationship with Opposing Counsel”)

(observing that a lawyer with “a tangential role . . . where that lawyer has little or no direct

decision-making authority in the matter and minimal contact with the opposing counsel” is less

likely to create a conflict than where the lawyer is sole or lead counsel). Here, Mr. Lauria has not

worked at all on the Trust representation or the underlying Maxus bankruptcy. Levy Decl. ¶ 42.

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          Second, even if, during her pre-joining period, the relationship between Ms. Boelter and

Mr. Lauria had created a conflict under Model Rule 1.7, the remedy would not have been to

disqualify Sidley or White & Case. Rather, it would have been for one of the two individuals to

withdraw from the representation. See Rule 1.7, cmts. 4 & 7. “The disqualification arising from

a close family relationship is personal and ordinarily is not imputed to members of firms with

whom the lawyers are associated.” Rule 1.7, cmt 11; see also United States v. Dong, No. 2:11-cr-

00511-DCN, 2015 U.S. Dist. LEXIS 163995, at *14 (D.S.C. Dec. 8, 2015) (“Although Dong’s

attorney would have an actual conflict if her husband were opposing counsel, that conflict is not

imputed to other lawyers with whom her husband is associated.” ). Because Mr. Lauria has never

worked on this matter and Ms. Boelter no longer represents YPF, there is no representation from

which they can now withdraw. Cf. Sonos, Inc. v. D&M Holdings, Inc., No. 14-cv-1330 (RGA),

2015 U.S. Dist. LEXIS 119718, at *11 (D. Del. Sept. 9, 2015) (“[I]mputed disqualification does

not follow [lawyers] to their new firm.”).

          Third, the conduct of YPF’s counsel regarding the relationship between Ms. Boelter and

Mr. Lauria plainly constitutes a waiver of any right YPF would have ever had to compel White &

Case to withdraw on that basis. See Conley v. Chaffinch, 431 F. Supp. 2d 494, 498-99 (D. Del.

2006) (“In determining whether the moving party has waived its right to object to the opposing

party’s counsel the court should consider the length of [and reason for] the delay in bringing a

motion to disqualify, when the movant learned of the conflict, whether the movant was represented

by counsel.”). Ms. Boelter informed Sidley of the relationship in 2018, and Sidley took no action.

See Boelter Decl. ¶ 6; see also In re Rite Aid Corp. Securities Litigation, 139 F. Supp.2d 649, 661

(E.D. Pa. 2001) (finding waiver where movant waited nine months after discovering the potential

conflict and movant “was represented by highly sophisticated counsel for that entire period”); In


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re Muma Servs., Inc., 286 B.R. 583, 589 (Bankr. D. Del. 2002) (one-year delay was unreasonable

and gave rise to waiver). Indeed, there are grounds here for the Court to find a waiver on the post-

joining imputation as well. Cleary was fully aware of the relationship between Ms. Boelter and

Mr. Lauria from the very beginning of its involvement in this dispute, but did not then take the

position that the relationship was grounds for disqualification of White & Case under Model Rule

1.7. See Kaiser Grp. Int’l, Inc. v. Nova Hut a.s. (In re Kaiser Grp. Int’l, Inc.), 272 B.R. 846, 852

(Bankr. D. Del. 2002) (finding no reason for a four-month delay in moving to disqualify and

concluding that the motion was “a strategic ploy” where movant had engaged with non-movant

regarding an ethical screen).

          Finally, YPF contends that “the confidential information Ms. Boelter possesses . . . only

needs to . . . be exchanged across the dinner table with her husband, the head of [the Restructuring

Group]” to make its disclosure “highly consequential.” Mot. at 20-21. This salacious argument

is simply counterfactual. Both Mr. and Mrs. Lauria are prohibited from discussing any YPF

confidence with counsel working for the Trust (Levy Decl. ¶¶ 26-27, 46-49), so whatever dinner

conversation they might share (in violation of their own screening commitments), there would still

have to be a further transgression in which they disregarded the screen to talk to the Trust’s

attorneys who then used the information. There is simply no basis for this Court to presume

multiple ethical violations by multiple attorneys appearing before it.

          THE TRUST WOULD BE SUBSTANTIALLY PREJUDICED, AND YPF WOULD
          OBTAIN A TACTICAL BENEFIT, IF WHITE & CASE WERE DISQUALIFIED
          The Motion finally contend that “any doubt as to the propriety of the representation should

be resolved in favor of disqualification.” Mot. at 25 (quoting Apeldyn Corp. v. Samsung Elec. Co.,




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693 F. Supp. 2d 399, 404 (D. Del. 2010).21 As set forth in Sections I and II, supra, the Motion has

identified no genuine deficiency with the screen that White & Case has implemented to prevent

advertent or inadvertent disclosure by Ms. Boelter. Further, as set forth above in Section I.B.1,

the Motion fails to establish that “lead lawyers” or lawyers with “substantial knowledge” are to be

excluded from the screening protections of Rule 1.10. There is thus no doubt about the “propriety”

of White & Case’s continued representation of the Trust – rule following is proper; what is not

proper is advocating for a Court to change a black-letter rule after one side has relied upon it.

          But YPF’s self-serving interest in “propriety” and its subjective peace of mind is not the

only issue for the Court to assess here.22 Even those courts which have identified actual,

unscreened conflicts and/or transgressions of Model Rule 1.9 take an all-facts-and-circumstances

approach to determining whether disqualification of the attorney would be an appropriate remedy.

Those factors include the timing of the disqualification motion, delay in bringing the motion, the

stage of proceedings, whether confidential information from the prior representation had passed to

the client, the cost to obtain new counsel, the complexity of the case, and whether there was any

ulterior motive for filing the motion to disqualify.23 See TQ Delta, LLC v. 2Wire, Inc., C.A. No.



21
  This is wrong as a matter of law; the Apeldyn court distilled this principle from the same cases
that held that an attorney or firm can be disqualified for failing to cure “the mere appearance of
impropriety” (id.), which the Third Circuit has rejected. See Section I.B.1, supra. The case is also
factually distinguishable because there, the law firm representing the plaintiff hired a lawyer who
had previously billed more than 4,000 hours on the matter while working for the firm representing
the defendant. Id. at 401. Citing earlier precedent, the court granted the motion to disqualify but
expressly noted that the problem could have been avoided by using “‘an appropriate screening
mechanism.’” Id. at 404.
22
  Professor Wendell likewise adopts the same myopic view of the issue, going so far as to contend
that “[d]isqualification of the firm is the only remedy that will adequately protect the interests of
YPF . . . .” Wendell Decl. ¶ 33. As discussed, the Rule is not simply focused on the interests of
the former client.
23
 Neither the District Courts nor the Bankruptcy Court have considered how these or other factors
would apply in the context of a motion to disqualify a firm on the grounds that a conflict arising
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13-1835-RGA, 2016 U.S. Dist. LEXIS 130982, at *18-19 (D. Del. Sep. 26, 2016); Intell. Ventures,

2011 U.S. Dist. LEXIS 154921, at *12-16. The Motion addresses none of these factors, and all

cut in favor of denying disqualification.

          First, on the facts of this dispute, there can be little doubt the Motion was brought for

tactical purposes. Nemours Found., 632 F. Supp. at 431 (“Courts have been extremely reluctant

to disqualify attorneys when there is a possibility that a motion was made primarily

for strategic purposes in a litigation. Even when made in the best of faith, such motions inevitably

cause delay.”).       While YPF takes the position that no screen could ever provide adequate

assurances that their confidential communications would be safe despite Ms. Boelter’s move to

White & Case, they delayed the filing of the Motion until Christmas week despite having found

out that Ms. Boelter would be joining White & Case (and marrying Mr. Lauria) on September 12.24

          Rather than move immediately (or even suggest any additional proactive protections)

YPF’s counsel engaged in an unproductive and doomed letter-writing campaign, which in

hindsight seems calculated solely to generate grist for the mill of a motion to disqualify that it

knew would be filed no matter how White & Case responded to its multiple, broad inquiries. See

e.g., Kaiser Grp. Int’l, Inc. v. Nova Hut a.s. (In re Kaiser Grp. Int’l, Inc.), 272 B.R. 846, 852

(Bankr. D. Del. 2002) (concluding that the motion was “a strategic ploy” where movant had



under Rule 1.10 was inadequately screened. The Trust respectfully submits that, as no authority
requires disqualification in all cases, the Court can take the factors identified in the TQ Delta
opinion—which Judge Andrews issued after the opinion in Enzo—into consideration when
evaluating the Motion, to the extent the Court does not find that the plain language of Model Rule
1.10 as adopted in the Local Rules requires that it be denied.
24
   See also Hartford Steam Boiler Inspection & Ins. Co. v. Int’l Glass Prods., LLC, No.
2:08cv1564, 2017 U.S. Dist. LEXIS 77102, at *11 (W.D. Pa. May 22, 2017) (“Courts within this
jurisdiction consistently have recognized that any meaningful delay between the understanding of
the substance of the basis to disqualify and the filing of a motion to do so raises the specter
of tactical use and provides a proper basis for a finding of waiver.”) (emphasis added).

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explicitly requested a “Chinese Wall”). Most important, as noted supra at 9, YPF allowed White

& Case to continue with the representation of the Trust through multiple, very expensive fact-

discovery processes, perhaps hoping that the lapse in time would amplify the insinuation that Ms.

Boelter has already let slip some key morsel to her new husband. Liberate Techs. LLC v.

Worldgate Communs., Inc., 133 F. Supp. 2d 357, 360 n.2 (D. Del. 2001) (where movant “waited

several months to bring this [conflict] to the court’s attention despite ongoing settlement talks, the

court deems any conflict in this instance to be waived”). Simply, this is not the conduct of a party

who genuinely believes its most important secrets are likely to be divulged imminently to an

adversary, but rather one intent on causing further delay and expense in these proceedings.25

          Second, disqualification of White & Case would in fact severely prejudice the Trust.

Courts considering motions to disqualify give the non-movant’s choice of counsel substantial

deference, and must be on guard that such motions are brought tactically. See, e.g., Alamo Group,

2015 Bankr. LEXIS 467, *21. Here, White & Case has already achieved several important

victories in dispositive and highly complicated motion practice. That work required White & Case

to absorb a record that, as YPF has repeatedly observed, spans more than 25 years of transactions

and related litigations and proceedings. See, e.g., Nemours Found. v. Gilbane, Aetna, Fed. Ins.

Co., 632 F. Supp. 418, 430-31 (D. Del. 1986) (finding that disqualification of out-of-state counsel

would prejudice the client given the complexity of the case and the excellent working relationship

with local counsel); In re Modanlo, 342 B.R. at 237 (“[Non-movant] would be prejudiced by the


25
   Given YPF’s recent efforts to streamline its capital structure by means of distressed bond
exchanges, it is not unimaginable that it may eventually have to seek some form of bankruptcy
protection themselves. To the extent the timing of the Motion implicates a desire to have this
action paused to facilitate restructurings of debts other than to the Trust, the delay in bringing the
Motion may be additionally improper. See, e.g., Modanlo v. Ahan (In re Modanlo), 342 B.R. 230,
237 (D. Md. 2006) (finding waiver in part because timing of motion to disqualify suggested
attempt to obtain tactical advantage vis-à-vis other filings in chapter 11 case).

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disqualification . . . particularly because of the long and complex history of litigation.”); see also

Alexander v. Primerica Holdings, Inc., 822 F. Supp. 1099, 1119 (D.N.J. 1993) (“[I]t has not

escaped attention that this motion to disqualify . . . follows upon recent discovery which appears

to significantly damage [movant’s] case.”). The breadth and depth of that institutional knowledge

would take months, if not years, for the Trust to replicate.

          Moreover, this matter has already proceeded into the fact deposition phase, with intensive

phases of expert discovery and summary judgment to follow in short order. See Amended Case

Management Plan and Scheduling Order, dated July 22, 2020 [D.I. 230]. Simply put, the Trust

cannot easily or quickly switch horses now and still take this litigation to completion in anything

close to the timeframe contemplated by the current scheduling order. Id.; see also Cent. Milk

Producers Coop. v. Sentry Food Stores, Inc., 573 F.2d 988, 992 (8th Cir. 1978) (“This court will

not allow a litigant to delay filing a motion to disqualify in order to use the motion later as a tool

to deprive his opponent of counsel of his choice after substantial preparation of a case has been

completed.”). Nor can one simply presume that replacement counsel is readily at hand here. As

noted, YPF has already employed a substantial portion of the waterfront, and has already

demonstrated that they have no intent in acting reasonably and/or cooperatively with its former

lawyers. Indeed, YPF affirmatively touts its refusal to grant White & Case a formal written waiver

to hire a young associate who worked for Chadbourne during the Chapter 11 Cases. Mot. at 4, 10.

As an initial matter, it is incomprehensible as to how YPF can view interfering with the career of

a junior lawyer by repeatedly refusing to permit a screen might be a helpful fact for them. (Such

conduct certainly cuts against YPF’s protestations that it understands and appreciates the “practical

realities of potential conflicts and lawyers changing firms . . . .” Mot. at 2.) But, this obvious lack

of corporate self-awareness raises the specter that YPF would seek to disqualify any replacement


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counsel with even tangential involvement with any one of the many law firms and lawyers that

have handled YPF confidences in the past.

          Third, disqualifying White & Case on the basis of Ms. Boelter’s former association with

Sidley and work for YPF would actively thwart the very purpose of the screening rules which

permit and promote lateral moves. While the Motion suggests that “Ms. Boelter was free to work

for any other firm in the world” (Mot. at 29), this is simply not the case. Following Mr. Conlan’s

departure, she needed to find a firm in the appropriate geographical market with a comparable

presence in the restructuring bar where she could continue her career. The list of appropriate

potential homes was already short, and the web of potential challenges to disinterestedness to

which seasoned debtor’s counsel such as Ms. Boelter are subject truncates it even further.26

Screening under Rule 1.10 exists precisely so that lawyers in Ms. Boelter’s position can associate

with new firms and continue their careers unabated, provided that they behave ethically. In other

words, the Model Rules strive to make clear that moving from a firm is not, in and of itself,

unethical, even when the new firm is adverse on an active representation. The notion that someone

in Ms. Boelter’s situation may never encounter another lawyer either professionally or socially

sets an impossibly high standard for lateral hires, which would in turn severely hamper attorney

mobility. See, e.g., Nemours Found., 632 F. Supp. at 431 (“Attorney mobility . . . would be

severely restricted if a per se rule against a ‘cone of silence’ were adopted.”); see also Pera Decl.

¶¶ 27-36.

          Finally, disqualification based solely on the tawdry insinuation that Ms. Boelter could not

keep herself from spilling a YPF confidence to her husband (who incidentally does not work on




26
  Ms. Boelter’s active role as debtors’ counsel for the Boy Scouts of America alone may have
removed more than a dozen firms from her prospective roster of potential new firms.
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this matter), would enact a per se rule imputing conflicts from spouse to spouse, in direct

contravention of the policies inherent in the Model Rules. See Blumenfeld v. Borenstein, 276

S.E.2d 607, 609 (Ga. 1981) (“A per se rule of disqualification on the sole ground that an attorney’s

spouse is a member of a firm representing an opposing party would . . . effectively create a category

of legal ‘Typhoid Marys,’ chilling both professional opportunities and personal choices.”).

          THERE IS NO BASIS FOR THE COURT TO STAY THESE PROCEEDINGS
          PENDING RESOLUTION OF THE MOTION TO DISQUALIFY
          The Motion concludes with a request that the Court “stay proceedings pending White &

Case’s withdrawal.” Mot. at 30. This request, which the Motion does not support with argument

or citation to any authority, is unclear. YPF has not made a separate application for the Court to

stay discovery in this matter pending resolution of the Motion, and absent such an application the

proceedings will continue. In short, the Court can and should deny the stay relief requested.

                                          CONCLUSION

          For the foregoing reasons, the Trust respectfully requests that the Court deny the Motion

and grant such other and further relief that the Court deems appropriate and necessary.


 Date: January 29, 2020                            Respectfully submitted,

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